                Case 18-10633-reg          Doc 34-1       Filed 07/19/19     Page 1 of 1




                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION

 IN THE MATTER OF:                                    )
                                                      )
 TREVOR JUSTIN WALKER and                             )    CASE NO. 18-10633
 MELISSA SUE WALKER,                                  )    Chapter 7
                                                      )
                          DEBTORS.                    )



                      ORDER GRANTING TRUS TEE’S M OTION FOR AUTHORITY
         TO   SELL REAL ES TATE BY PRIVATE SALE, FREE AND CLEAR OF LIENS , AND TO M AKE
              PAYMENT OF SECURED AND ADMINIS TRATIVE CLAIMS AND CLOS ING COS TS



        AT FORT WAYNE, INDIANA, ON _____________________________.

        Martin E. Seifert, Trustee, having filed his Motion for Authority to Sell Real Estate by

Private Sale, Free and Clear of Liens, and to Make Payment of Secured and Administrative Claims

and Closing Costs, the Court being advised in the premises, good cause having been shown,

appropriate notice having been given, and no objections having been filed,

        IT IS HEREBY ORDERED that pursuant to 11 U.S.C. § 363(b)(1) the Trustee is

authorized to sell real estate commonly known as 773 N 1100 W, Dunkirk, Indiana 467336

belonging to the estate by private sale, pursuant to the terms of the purchase offer attached to the

motion, free and clear of any liens, with liens to attach to proceeds, is further authorized to pay

secured and administrative claims and pay customary costs of closing and to sign any documents

necessary to effectuate closing and sale of the real estate.

        SO ORDERED.


                                          ________________________________________________
                                          JUDGE, UNITED STATES BANKRUPTCY COURT
